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                   UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT

 UNITED FACULTY OF SAINT LEO,                         )
 NATIONAL EDUCATION ASSOCIATION                       )
                                                      )
 FLORIDA EDUCATION, AMERICAN
                                                      )
 FEDERATION OF TEACHERS, AFL-CIO,                     ) Case No. 24-13895
                                                      )
              Petitioner,                             )
                                                      )
                    v.                                )
                                                      )
                                                      )
 NATIONAL LABOR RELATIONS BOARD,                      )
                                                      )
              Respondent,                             )
                                                      )
                    and                               )
                                                      )
                                                      )
 SAINT LEO UNIVERSITY, INC.                           )
                                                      )
             Intervenor.                              )
                                                      )
                                                      )

                 CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Eleventh Circuit Rule 26.1, counsel for the National Labor

Relations Board hereby certifies that the following persons and entities have or

may have an interest in the outcome of this case:

   1. Akerman, LLP (counsel for Intervenor-Respondent)

   2. American Federation of Labor-Congress of Industrial Organizations (AFL-

      CIO) (affiliated with Petitioner)

   3. American Federation of Teachers (affiliated with Petitioner)


                                      C-1 of 4
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No. 24-13895, United Faculty of Saint Leo v. NLRB


  4. Annexy, Beatriz (counsel for Petitioner)

  5. Barclay, Steven (counsel for Petitioner)

  6. Becket Fund for Religious Liberty (counsel for Intervenor)

  7. Burdick, Ruth E. (counsel for Respondent)

  8. Cahn, Stephanie (Acting Deputy General Counsel, NLRB)

  9. Chen, Daniel L. (counsel for Intervenor)

  10. Cohen, David (counsel for Respondent)

  11. Cowen, William B. (Acting General Counsel, NLRB)

  12. Egan, Joseph, Jr. (counsel for Petitioner)

  13. Egan, Lev, & Siwica, P.A. (counsel for Petitioner)

  14. Fleshman, Benjamin A. (counsel for Intervenor)

  15. Gaylord, Amy Moor (counsel for Intervenor)

  16. Giannasi, Robert (Chief Administrative Law Judge, NLRB)

  17. Goodrich, Luke W. (counsel for Intervenor)

  18. Heaney, Elizabeth Ann (counsel for Respondent)

  19. Hill, Kelly (counsel for Intervenor)

  20. Jason, Meredith (counsel for Respondent)

  21. Kaplan, Marvin E. (Chairman, NLRB)

  22. Lev, Tobe (counsel for Petitioner)

  23. McFerran, Lauren M. (former Chair, NLRB)



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 24. National Education Association Florida Education (affiliated with

    Petitioner)

 25. National Labor Relations Board (Respondent)

 26. Ohr, Peter Sung (counsel for Respondent)

 27. Parker, Heidi (counsel for Petitioner)

 28. Plympton, John W. (counsel for Respondent)

 29. Prouty, David M. (Board Member, NLRB)

 30. Rassbach, Eric C. (counsel for Intervenor)

 31. Saint Leo University, Inc. (Intervenor)

 32. Sandron, Ira (Administrative Law Judge, NLRB)

 33. Shelley, Staci Rhodes (counsel for Intervenor)

 34. Silverman, Scott T. (counsel for Intervenor)

 35. Siwica, Richard (counsel for Petitioner)

 36. Sykes, Molly G. (counsel for Respondent)

 37. United Faculty of Saint Leo, National Education Association Florida

    Education, American Federation of Teachers, AFL–CIO (Petitioner)

 38. Varberg, Jordan T. (counsel for Intervenor)

 39. Wilcox, Gwynne A. (former Board Member, NLRB)

 40. Zerby, Christopher (counsel for Respondent)




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   Pursuant to 11th Cir. R. 26.1-3(b), counsel certifies that no publicly traded corporation

has an interest in this proceeding.



                                      s/ Ruth E. Burdick
                                      Ruth E. Burdick
                                      Deputy Associate General Counsel
                                      NATIONAL LABOR RELATIONS BOARD
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                                      (202) 273-2960

Dated at Washington, D.C.
this 30th day of June 2025




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                   UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT

UNITED FACULTY OF SAINT LEO, NATIONAL     )
EDUCATION ASSOCIATION FLORIDA EDUCATION )
AMERICAN FEDERATION OF TEACHERS, AFL-CIO )
                                          ) No. 24-13895
                     Petitioner           )
                                          )
               v.                         ) Board Case Nos.
                                          ) 12-CA-275612
NATIONAL LABOR RELATIONS BOARD            )
                                          )
                     Respondent           )
                                          )
               and                        )
                                          )
SAINT LEO UNIVERSITY, INC.                )
                                          )
                     Intervenor           )
_________________________________________ )
  OPPOSITION OF THE NATIONAL LABOR RELATIONS BOARD TO
  INTERVENOR SAINT LEO UNIVERSITY’S CROSS-MOTION FOR
   SUMMARY DENIAL OF THE UNION’S PETITION FOR REVIEW

To the Honorable, the Judges of the United States
      Court of Appeals for the Eleventh Circuit:

      The National Labor Relations Board opposes Intervenor Saint Leo

University’s cross-motion for summary denial of United Faculty of Saint Leo’s (the

Union) petition for review because summary disposition does not best serve or

protect the Board’s interests. Rather, voluntary dismissal safeguards against the
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petition being denied on grounds inappropriately asserted by the University in its

brief to the Court—grounds upon which the Board did not rely in dismissing the

complaint. Moreover, voluntary dismissal of the petition for review, as sought by

the Union, will bring an expeditious end to the challenge to the Board’s decision

and conserve both the Board’s and the Court’s resources.

                                  BACKGROUND

      Following charges filed by the Union, the General Counsel issued an unfair-

labor-practice complaint against Saint Leo University, Inc., alleging that the

University unlawfully withdrew recognition from the Union and engaged in

several other unfair labor practice violations. On September 30, 2024, the Board

issued a decision and order finding that it lacked jurisdiction over the University’s

faculty because the University is a religious educational institution, and the Board

dismissed the complaint. In so finding, the Board relied on its decision in Bethany

College, 369 NLRB No. 98 (2020), which sets forth the test for determining

whether the Board has jurisdiction over faculty at a religious university.

      The Union petitioned for review of the Board’s dismissal, challenging the

Board’s jurisdictional test and the application of that test to the University. The

University intervened in support of the Board. On March 3, 2025, the Union filed

its opening brief, and on May 13, 2025, the Board and the University filed their

answering briefs.
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      The Union now seeks to withdraw its petition. On June 20, the Board

notified the Court that it does not oppose that request. The University opposes the

request and has moved the Court to summarily deny the Union’s petition.

                                    ARGUMENT

  THE COURT SHOULD DENY THE UNIVERSITY’S REQUEST FOR
 SUMMARY DENIAL AND INSTEAD GRANT THE UNION’S REQUEST
           TO VOLUNTARILY DISMISS ITS APPEAL

1.    The University contends that summary denial is warranted as a matter of

law. The Board disagrees.

      As an initial matter, in its brief to the court, the University asserted

additional grounds in support of the Board’s dismissal of the complaint on which

the Board did not rely. Specifically, the University argued that the Board’s

assertion of jurisdiction over the University would violate the “church autonomy”

doctrine, the First Amendment’s Free Exercise clause, and the Religious Freedom

Restoration Act. See University Intervenor brief, pp. 35-51. In contrast, the

Board’s dismissal of the complaint was premised on its finding that the University

holds itself out as a religious university and, relying on Bethany College, that the

Board’s assertion of jurisdiction would risk infringement of the First Amendment’s

Religion Clauses. See Saint Leo Univ., 373 NLRB No. 121, slip op. at 1-3 & n.1

(2024). If the Court finds that summary denial is appropriate, “it may enforce the

Board’s order only on the basis of the reasoning within that order.” Northport
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Health Servs., Inc. v. NLRB, 961 F.2d 1547, 1553 (11th Cir. 1992). See also SEC v.

Chenery Corp., 332 U.S. 194, 204 (1947) (question on judicial review is “whether

the [agency’s] action . . . can be justified on the bases upon which it clearly rests”).

Thus, the Court, in considering the request for summary denial, cannot consider the

additional grounds asserted in the University’s brief because the Board’s dismissal

of the complaint did not rest on those grounds. See Motor Vehicle Manufacturers

Ass’n v. State Farm Mutual Automobile Ins., Co., 463 U.S. 29, 50 (1983) (“It is

well established that an agency’s action must be upheld . . . on the basis articulated

by the agency itself.”).

      In any event, the concerns cited by the University in its cross-motion do not

compel summary denial. Citing Groendyke Transport, Inc. v. Davis, 406 F.2d

1158, 1161 (5th Cir. 1969), the University asserts that the petition can be denied as

a matter of law (Cross-Motion at 4-7); however, the Board and the Union have

presented dueling views as to whether substantial evidence supports the Board’s

finding that the University holds itself out to the public as a religious university.

See Union’s opening brief, pp. 34-35, Board’s answering brief, pp. 26-32. While

the Board believes that its finding is supported by substantial evidence, the Board

also recognizes that the finding is a factual issue for the Court to decide.

      Summary disposition is also appropriate where “time is of the essence.”

Groendyke, 406 F.2d at 1162. Here, however, if the Court grants the Union’s
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motion for voluntary dismissal, the Union is and remains bound by the Board’s

decision that, under Bethany College, the Board lacks jurisdiction over the

University’s faculty. Contrary to the University’s concerns (Cross-Motion at 9),

the Union cannot “drag[] Saint Leo before the Board” now or in the immediate

future. The University’s additional concern that the Board will change its legal

position and possibly overrule Bethany College is speculative. (Cross-Motion at

9.) What is certain, however, is that the jurisdictional test set forth in Bethany

College remains valid Board precedent.

        Moreover, none of the precedent relied on by the University to support

summary denial involves the particular context at issue here, namely, where

summary denial is requested in the face of a pending motion for voluntary

dismissal, and where the party requesting the summary denial is the intervenor, not

the respondent/appellee. 1 And certainly none of its cited precedent compels

summary denial here. 2


1
  The University relies heavily on unpublished decisions to support its request for
a summary denial. (Cross-Motion, at 4-5.) Per this Court’s Local Rules and
Internal Operating Procedures, such caselaw is not binding precedent. See Local
Rule 36-1 (“Unpublished opinions are not binding precedent[.]”); IOP 7
(explaining that the court “generally does not cite to its ‘unpublished’ opinions
because they are not binding precedent”).
2
  The University cites Glaxo, Inc. v. Boehringer Ingelheim Corp., 119 F.3d 14 (Fed.
Cir. 1997) (unpublished), as an example of a court granting summary disposition in
lieu of granting voluntary dismissal. But Glaxo does not compel the Court to do
the same here. In Glaxo, the Federal Circuit summarily affirmed the lower court’s
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2.    The Board, as both the agency-respondent and the administrative body

whose jurisdictional test is at issue in this appeal, believes its interests are best

served with a voluntary dismissal. The Union, by asking the Court to dismiss the

petition for review, has indicated that it no longer seeks to contest the Board’s

ruling. The Court should exercise its discretion to grant that motion because

dismissal ensures a timely and efficient end to this case and there is no compelling

reason to deny the Union’s request.

      An appeal “may” be dismissed on an appellant’s motion, see Fed. R. App. P.

42(b), and there is a “presumption” in favor of dismissal. Albers v. Eli Lily & Co.,

354 F.3d 644, 646 (7th Cir. 2004). Such a motion is “generally granted,” but may

be denied on “rare occasion” in the interests of justice or fairness. Am. Auto Mfrs.

Ass’n v. Commissioner, Dep’t of Environmental Protection, 31 F.3d 18, 22 (1st Cir.

1994) (citation omitted). Thus, a court may, in its discretion, deny an appellant’s

motion to dismiss if there is evidence of manipulation, see United States v. State of

Washington, Dep’t of Fisheries, 573 F.2d 1117, 1118 (9th Cir. 1978) (declining to

deny appellant’s motion to dismiss absent evidence that appellant sought dismissal




decision in the face of a competing motion by the appellant to voluntarily dismiss
the appeal “without prejudice to reinstatement.” Id. at *1. Moreover, in that case,
the appellant asserted its plan to continue challenging the underlying lower court
decision, id., which the Union has not done here.
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to evade determination of certain questions), or if the court has invested significant

resources and time deciding the appeal, In re Nexium, 778 F.3d 1, 2 (1st Cir. 2015).

      The University has shown no circumstances here that evidence manipulation

or a waste of the Court’s resources. The Board’s standard for determining

jurisdiction over religious universities, which the Union sought to contest on

appeal, is and remains valid and binding Board precedent. See Am. Auto, 31 F.3d

at 22-23 (granting dismissal will not shield claims from scrutiny). Put another

way, the Union cannot be accused of dismissing the appeal to “manipulate the

formation of precedent” because the Union remains bound by the Board’s holding

in Bethany College. Nexium, 778 F.3d at 1-2.

      Further, the Board, as the agency defending its dismissal, benefits from the

Union’s acquiescence in the Board’s order and will not have to expend additional

funds defending its position in court. Moreover, the dismissal comes before the

Court has spent considerable time or resources deciding the case. The appeal was

only recently briefed, and oral argument has not been scheduled. Compare Ford v.

Strickland, 696 F.2d 804, 807 (11th Cir. 1983) (denying motion to dismiss where

case had been fully briefed, parties had participated in “extended oral argument,”

and court had engaged in “several months of deliberation”).

      In sum, contrary to the University’s claims, the most expeditious resolution

of this case is to grant the Union’s request to voluntarily dismiss the appeal. That
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request demonstrates the Union’s acquiescence with the Board’s jurisdictional

ruling and thus serves the Board’s interest. Voluntary dismissal also allows for a

more efficient use of the Court’s resources, as the Court can dispense with oral

argument and writing a decision.

      WHEREFORE, the Board respectfully requests that the Court deny the

University’s cross-motion for summary denial.




                                s/ Ruth E. Burdick
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Dated at Washington, D.C.
this 30th day of June 2025
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                 UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT

                                                            )
  UNITED FACULTY OF SAINT LEO, NATIONAL                     )
  EDUCATION ASSOCIATION FLORDIA                             )
  EDUCATION, AMERICAN FEDERATION OF                         )
  TEACHERS, AFL-CIO                                         )
                                                            )
                           Petitioner                       )
                     v.                                     ) No. 24-13895
                                                            ) Board Case No.
  NATIONAL LABOR RELATIONS BOARD                            ) 12--CA-275612
                                                            )
                           Respondent                       )
                                                            )
                           And                              )
                                                            )
  SAINT LEO UNIVERSITY, INC.                                )
                                                            )

                     CERTIFICATE OF COMPLIANCE

        Pursuant to Federal Rule of Appellate Procedure 27(d), the Board

  certifies that this motion contains 1,717 words of proportionally-spaced,

  14-point type, and the word processing system used was Microsoft

  Word 365.



                               /s/ Ruth E. Burdick
                               Ruth E. Burdick
                               Deputy Associate General Counsel
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  Dated at Washington, DC
  this 30th day of June 2025




                                     2
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                  UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT


                                        )
UNITED FACULTY OF SAINT LEO, NATIONAL   )
EDUCATION ASSOCIATION FLORIDA           )
EDUCATION, AMERICAN FEDERATION          )
OF TEACHERS, AFL-CIO                    )
                                        )
                   Petitioner           )
              v.                        ) No. 24-13895
                                        ) Board Case No.
NATIONAL LABOR RELATIONS BOARD          ) 12-CA-275612
                                        )
                   Respondent           )
                                        )
                   And                  )
                                        )
SAINT LEOUNIVERSITY, INC                )
                                        )
Intervenor.                             )
                                        )
                  CERTIFICATE OF SERVICE

      I hereby certify that on June 30, 2025, I electronically filed the foregoing

document with the Clerk of the Court for the United States Court of Appeals for

the Eleventh Circuit by using the CM/ECF system. I certify that the foregoing

document was served on all parties or their counsel of record through the appellate

CM/ECF system.

                                       /s/ Ruth E. Burdick
                                       Ruth E. Burdick
                                       Deputy Associate General Counsel
                                       NATIONAL LABOR RELATIONS BOARD
                                       1015 Half Street, SE
                                       Washington, DC 20570
                                       (202) 273-2960
Dated at Washington, DC
this 30th day of June 2025
